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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
______________________________
                               )
GEORGE PERROT,                )
                               )
      Plaintiff,               )
                               )
      v.                       )   Civil Action No. 1:18-cv-10147-DPW
                               )
THOMAS KELLY, ET AL.           )
                               )
      Defendants.              )
                               )


      MOTION BY THE UNITED STATES FOR AN EXTENSION OF TIME FOR
           DEFENDANTS WILLIAM EUBANKS AND WAYNE OAKES
        TO ANSWER OR MOVE TO DISMISS PLAINTIFF’S COMPLAINT

       For the following reasons, the United States of America respectfully requests that this

Court extend the time by which Defendants William Eubanks and Wayne Oakes must respond to

Plaintiff George Perrot’s complaint to sixty (60) days after a decision on representation by the

Department of Justice has been made. Plaintiff has assented to this motion.

       Defendants Eubanks and Oakes are former employees of the Federal Bureau of

Investigation (the “FBI”). They are named as defendants in their individual capacities. Defendants

Eubanks and Oakes have requested that the Department of Justice provide them with legal

representation in this matter. Their requests are currently being processed by the FBI, after which

they will be sent to the Department for consideration.

       Ordinarily, the deadline for a former officer or employee of the United States sued in an

individual capacity to serve a response to the complaint is 60 days after service on the officer or

employee, or 60 days after service on the U.S. Attorney, whichever is later. Fed. R. Civ. P.

12(a)(3). To date, neither of the Defendants has been personally served with the Complaint. It is

anticipated that personal service will be accomplished within the next two weeks.
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       In order to allow for enough time for their representation requests to be processed, the

United States respectfully requests that this Court extend the time by which Defendants Eubanks

and Oakes must respond to Plaintiff’s complaint to sixty (60) days after a decision on

representation by the Department of Justice has been made.

                                                       Respectfully submitted,

                                                       UNITED STATES OF AMERICA

                                                       By its attorney,

                                                       ANDREW E. LELLING
                                                       United States Attorney

                                               By:     /s/ Annapurna Balakrishna
                                                       Annapurna Balakrishna
                                                       Assistant United States Attorney
                                                       United States Attorney’s Office
                                                       John Joseph Moakley Federal Courthouse
                                                       One Courthouse Way - Suite 9200
                                                       Boston, Massachusetts 02210
                                                       Massachusetts BBO # 655051
                                                       (617) 748-3111
April 16, 2018                                         annapurna.balakrishna@usdoj.gov


                                   CERTIFICATE OF SERVICE

        I certify that this document(s) filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants, if any, on April 16, 2018.

                                                        /s/ Annapurna Balakrishna
                                                        Annapurna Balakrishna

                 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

        I certify that I conferred with Plaintiff’s counsel before filing this motion and that
Plaintiff’s counsel assented to the motion.

                                                        /s/ Annapurna Balakrishna
                                                        Annapurna Balakrishna



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